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8    Attorneys for Plaintiff
9
                                UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                   SAN FRANCISCO DIVISION
12
     UNITED STATES OF AMERICA,                 )      Criminal No. CR 05-00167 WHA (JCS)
13                                             )
             Plaintiff,                        )
14                                             )
                                               )      AMENDED STIPULATION AND
15                                             )      [PROPOSED] ORDER EXCLUDING
        v.                                     )      TIME
16                                             )
                                               )
17   TERRELL JACKSON,                          )
       a/k/a “Rell,”                           )
18                                             )
             Defendant.                        )
19                                             )
20
21           The above-captioned matter came before the Court on August 2, 2006, for
22   continued initial appearance and identification of counsel. The defendant, Terrell
23   Jackson, who was present, was represented by Esq., and the government was represented
24   by Richard J. Cutler, Assistant United States Attorney. Defendant made his first
25   appearance post-indictment in this District on July 28, 2005, before United States
26   Magistrate Judge Joseph C. Spero. The initial appearance had been continued from July
27   28, 2006, for arraignment, identification of counsel, and detention hearing. On August 2,
28
     STIPULATION AND [PROPOSED]
     ORDER EXCLUDING TIME - DEFENDANT TERRELL JACKSON
     CR 05-00167 WHA
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1    2006, the parties agreed and the Court made a finding on the record that the time between
2    July 28, 2006, and August 2, 2006 should be excluded under the Speedy Trial Act, 18
3    U.S.C. § 3161(h)(8)(B) for defendant to obtain counsel, for continuity of counsel, and
4    because the ends of justice served by taking such action outweighed the best interest of
5    the public and the defendant in a speedy trial. That finding was based on the defendant’s
6    need to obtain counsel. On July 28, 2006, defendant had appeared without permanent
7    counsel as the Federal Public Defender’s Office had a conflict and could not be appointed
8    to represent defendant. That finding was made pursuant to 18 U.S.C. § 3161(h)(8)(B).
9       The parties agree and stipulate that the time from July 28, 2006, and
10   August 2, 2006, is appropriate and necessary under Title 18, United States Code, Section
11   3161(h)(8)(B), for defendant to obtain counsel and therefore for continuity of counsel and
12   because the ends of justice served by this continuance outweigh the best interest of the
13   public and the defendant in a speedy trial.
14
15   DATED: 8/2/06                                    /S/
                                               SUZANNE LUBAN, ESQ.
16                                             Counsel for DEFENDANT
                                               TERRELL JACKSON
17
18
     DATED: 8/2/06                                      /S/
19                                             RICHARD J. CUTLER
                                               Assistant United States Attorney
20
                                                                 S DISTRICT
21   SO ORDERED.                                              ATE           C
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22
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                                                   UNIT




23   DATED:      August 3, 2006
                                                                                             R NIA




                                               JOSEPH C. SPERO ro
                                                                     . Spe
                                                               seph CMAGISTRATE
                                                   NO




24                                             UNITED STATES
                                                       Judge Jo
                                                                                JUDGE
                                                                                             FO
                                                    RT




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26                                                                         R

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28
     STIPULATION AND [PROPOSED]
     ORDER EXCLUDING TIME - DEFENDANT TERRELL JACKSON
     CR 05-00167 WHA                2
